                    EXHIBIT A




Case 5:22-cv-00068-BO Document 166-1
                               159-2 Filed 01/23/23
                                           01/09/23 Page 1 of 8
                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                              CASE NO. 5:22-cv-68-BO

YOLANDA IRVING, individually and as the               )
natural parent and guardian of J.I., JUWAN            )
HARRINGTON, CYDNEEA HARRINGTON,                       )
KENYA WALTON, individually and as the natural         )
parent and guardian of R.W., ZIYEL WHITLEY,           )
DYAMOND WHITLEY, KAMISHA WHITLEY,                     )   SEU OFFICER DEFENDANTS’
NANETTA GRANT as the natural parent and               ) FIRST SET OF INTERROGATORIES
guardian of Z.G., and EMANCIPATE NC, INC.,            )       AND REQUESTS FOR
                                                      )  PRODUCTION OF DOCUMENTS
                          Plaintiffs,                 )          TO PLAINTIFF
                                                      )      EMANCIPATE NC, INC.
   v.                                                 )
                                                      )
THE CITY OF RALEIGH, Officer OMAR I.                  )
ABDULLAH, Sergeant WILLIAM ROLFE,                     )
Officer RISHAR PIERRE MONROE,                         )
Officer MEGHAN CAROLINE GAY,                          )
Officer DAVID MEAD, Officer JESUS ORTIZ,              )
Officer KYLE PERRIN, Officer MICHAEL                  )
MOLLERE, Officer KYLE THOMPSON,                       )
Officer VINCENT DEBONIS, Officer DANIEL               )
TWIDDY, Officer THOMAS WEBB,                          )
Officer DAVID MCDONALD, Officer DAVID                 )
GARNER, Chief of Police ESTELLA                       )
PATTERSON, and City Manager MARCHELL                  )
ADAMS-DAVID, in their individual capacities,          )
                                                      )
                          Defendants.                 )


        Pursuant to Rule, 26, 33, and 34 of the Federal Rules of Civil Procedure, Defendant SEU

Officers David Mead, Jesus Ortiz, Kyle Perrin, Michael Mollere, Kyle Thompson, Vincent

Debonis, Daniel Twiddy, Thomas Webb, David McDonald, and David Garner, request that

Plaintiff Emancipate NC, Inc., answer the following interrogatories and requests for production

of documents within thirty (30) days of the date of this request. This request shall be continuing

in nature until the day of trial, and Emancipate NC, Inc. is required to serve supplemental




         Case 5:22-cv-00068-BO Document 166-1
                                        159-2 Filed 01/23/23
                                                    01/09/23 Page 2 of 8
responses as additional information may be found or is made available, as required by Rule 26 of

the Federal Rules of Civil Procedure.



                               DEFINITIONS & INSTRUCTIONS

       1.      “Document” means any printed, typewritten, handwritten, or otherwise recorded

matter of whatever character and all drafts of any such recorded matter, including, but not

limited to, letters, booklets, certificates of title, forms, memoranda, telegrams, notes, catalogues,

brochures, diaries, reports, drawings, charts, facsimiles, models, agreements, contracts, minutes,

calendars, interoffice communications, intraoffice communications, electronic mails, attachments

to electronic mails, electronic files, computer records, statements, announcements, photographs,

audio or video tape recordings, motion pictures and any carbon, photographic, or electronic

copies of any such material.

       2.      “Date,” when used herein, shall include the day, month, and year of the occurrence

to which the Interrogatory refers. If any of the information referred to above is unavailable, so

state, and give as much information as possible to identify the period of the occurrence.

       3.      When used herein, plural terms shall include the singular and singular terms shall

include the plural.

       4.       When used herein, conjunctive terms (e.g., “and”) shall include the disjunctive

(e.g., “or”) and disjunctive terms shall include the conjunctive.

       5.      To the extent any communications or other documents may be covered by the

attorney-client privilege or work-product doctrine, please produce a privilege log of such

communications and documents.




                                                 2

         Case 5:22-cv-00068-BO Document 166-1
                                        159-2 Filed 01/23/23
                                                    01/09/23 Page 3 of 8
                                       INTERROGATORIES
       1.      Describe every complaint, or any other information, that Emancipate NC, Inc. has

received from January 1, 2014, to the present that relates to the execution of a search warrant by

the Raleigh Police Department’s Selective Enforcement Unit (“SEU”), or that otherwise relates

to the SEU’s entry into a home, including:

       (a)     The source of the complaint or other information;

       (b)     The    date   the   complaint    was    made     or   information    provided    to

               Emancipate NC, Inc.;

       (c)     The contents of the complaint or information; and

       (d)     Any and all actions taken by Emancipate NC, Inc. as a result of the complaint or

               information received.

       RESPONSE:




       2.      Identify all financial resources that Emancipate NC, Inc. spent, specifically in

connection with responding to complaints or information received that are identified in response

to Interrogatory No. 1.

       RESPONSE:




                                                3

        Case 5:22-cv-00068-BO Document 166-1
                                       159-2 Filed 01/23/23
                                                   01/09/23 Page 4 of 8
          3.    Identify each and every matter that Emancipate NC, Inc. was not able to address

because it allegedly has “been forced to divert its resources from other aspects of [its] work, and

other parts of the state, to attend to problems related to No Knock and Quick Knock warrant

executions by RPD.”

          RESPONSE:




                       REQUESTS FOR PRODUCTION OF DOCUMENTS
     1.         Produce all documents that relate to the complaints and information that are

responsive to Interrogatory No. 1.

          RESPONSE:




     2.         Produce all documents that relate to the matters that are responsive to

Interrogatory No. 3.

          RESPONSE:




     3.         Produce any other documents that relate to Emancipate NC, Inc.’s allegation that

it has “been forced to divert its resources from other aspects of [its] work, and other parts of the

state, to attend to problems related to No Knock and Quick Knock warrant executions by RPD.”

          RESPONSE:




                                                 4

           Case 5:22-cv-00068-BO Document 166-1
                                          159-2 Filed 01/23/23
                                                      01/09/23 Page 5 of 8
      4.        Produce all documents, including communications, that relate to Emancipate NC,

Inc.’s budgets from the years 2014 to the present.

           RESPONSE:




      5.        Produce all non-privileged documents, including communications involving

Emancipate NC, Inc. or its employees or agents, that relate to the Raleigh Police Department’s

execution of a search warrant at 1628B Burgundy Street on May 21, 2020.

           RESPONSE:




      6.        Produce all non-privileged documents, including communications involving

Emancipate NC, Inc. or its employees or agents, that relate to the conduct of Dennis Leon

Williams, Jr. (a.k.a. Aspirin).

           RESPONSE:




      7.        Produce all non-privileged communications between Emancipate NC, Inc. and

any individual plaintiff or plaintiffs in this lawsuit.

           RESPONSE:




                                                    5

           Case 5:22-cv-00068-BO Document 166-1
                                          159-2 Filed 01/23/23
                                                      01/09/23 Page 6 of 8
This the 23rd day of November 2022.


                                          /s/ Leslie C. Packer______________
                                          Leslie C. Packer
                                          N.C. State Bar No. 13640
                                          Michelle A. Liguori
                                          N.C. State Bar No. 52505
                                          ELLIS & WINTERS LLP
                                          P.O. Box 33550
                                          Raleigh, North Carolina 27636
                                          Telephone: (919) 865-7000
                                          Facsimile: (919) 865-7010
                                          leslie.packer@elliswinters.com
                                          michelle.liguori@elliswinters.com

                                          Counsel for SEU Officer Defendants




                                      6

 Case 5:22-cv-00068-BO Document 166-1
                                159-2 Filed 01/23/23
                                            01/09/23 Page 7 of 8
                                  CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on November 23, 2022, the foregoing document

was served via electronic mail to all counsel of record as listed below:

Abraham Rubert-Schewel                            Jason Benton
Tin Fulton Walker & Owen, PLLC                    Jessica Dixon
119 E. Main Street                                Parker Poe Admads & Bernstein, LLP
Durham, NC 27701                                  620 South Tyson Street, Suite 800
schewel@tinfulton.com                             Charlotte, NC 28202
Counsel for Plaintiffs                            jasonbenton@parkerpoe.com
                                                  jessicadixon@parkerpoe.com
                                                  Counsel for Defendant Abdullah
Emily Gladden
Nichad Davis                                      Rodney Pettey
Tin Fulton Walker & Owen, PLLC                    Alayna Poole
204 N. Person Street                              Yates McLamb & Weyher, LLP
Raleigh, NC 27601                                 PO Box 2889
egladden@tinfulton.com                            Raleigh, NC 27602
ndavis@tinfulton.com                              rpettey@ymwlaw.com
Counsel for Plaintiffs                            apoole@ymwlaw.com
                                                  Counsel for Defendants Monroe, Rattelade,
                                                  and Gay

Michael Littlejohn, Jr.                           Norwood Blanchard, III
Littlejohn Law, PLLC                              Crossley McIntosh Collier, & Edes, PLLC
PO Box 16661                                      5002 Randall Parkway
Charlotte, NC 28297                               Wilmington, NC 28403
mll@littlejohn-law.com                            norwood@cmclawfirm.com
Counsel for Plaintiffs                            Counsel for Defendant Rolfe

Ian Mance                                         Dorothy V. Kibler
Elizabeth Simpson                                 Amy C. Petty
Emancipate NC, Inc.                               City of Raleigh
ian@emancipatenc.org                              PO Box 590
elizabeth@emancipatenc.org                        Raleigh, NC 27602
Counsel for Plaintiffs                            Dorothy.kibler@raleighnc.gov
                                                  Amy.petty@raleighnc.gov
                                                  Counsel for Defendants City of
                                                  Raleigh, Chief of Police Estella Patterson,
                                                  and City Manager Marchell Adams-David

                                                      /s Leslie C. Packer
                                                      Leslie C. Packer
                                                      Michelle A. Liguori
                                                      Counsel for SEU Officer Defendants

                                                 7

        Case 5:22-cv-00068-BO Document 166-1
                                       159-2 Filed 01/23/23
                                                   01/09/23 Page 8 of 8
